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1    DAVID Z. CHESNOFF, ESQ.
2    Pro Hac Vice
     RICHARD A. SCHONFELD, ESQ.
3    California Bar No. 202182
4    CHESNOFF & SCHONFELD
     520 South Fourth Street
5
     Las Vegas, Nevada 89101
6    Telephone: (702) 384-5563
7    dzchesnoff@cslawoffice.net
     rschonfeld@cslawoffice.net
8
     Attorneys for Defendant, ALEXANDER SMIRNOV
9

10                  UNITED STATES DISTRICT COURT
11                 CENTRAL DISTRICT OF CALIFORNIA
                              ******
12
     UNITED STATES OF AMERICA, )
13                             )
14                Plaintiff,   )
                               )     CASE NO. 2:24-CR-00091-ODW
15
     v.                        )
16                             )
17   ALEXANDER SMIRNOV,        )
18
                               )     Honorable Otis D. Wright II
                  Defendant,   )     August 26, 2024 at 10:00 a.m.
19   ___________________________________ )
20
     DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISQUALIFY
21
         THE SPECIAL COUNSEL AND DISMISS THE INDICTMENT
22                        IN THIS CASE
23
           PLEASE TAKE NOTICE that on August 26, 2024, at 10:00 am, or as soon
24

25   thereafter as counsel may be heard, Defendant, ALEXANDER SMIRNOV (“Mr.
26
     Smirnov”), by and through his attorneys, DAVID Z. CHESNOFF, ESQ., and
27
     RICHARD A. SCHONFELD, ESQ., of the law firm of CHESNOFF &
28
                                             1
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1    SCHONFELD, will ask this Honorable Court to grant his Motion to Disqualify
2
     David C. Weiss (Special Counsel), Leo J. Wise (Principal Senior Assistant Special
3

4    Counsel), Derek E. Hines (Senior Assistant Special Counsel), and Sean F. Mulryne
5    and Christopher M. Rigali (Assistant Special Counsels), and dismiss the
6
     Indictment (ECF No. 1, Feb. 14, 2024) in this case.
7

8          This Motion is made and based upon the attached Memorandum of Points and
9    Authorities; the argument of counsel; and any other such evidence as may be
10
     presented. Counsel has conferred regarding the substance of this Motion and have
11

12   been unable to resolve the issues.
13         Dated this 15th day of July, 2024.
14
                                           Respectfully Submitted:
15

16                                         CHESNOFF & SCHONFELD
17
                                            /s/ David Z. Chesnoff
18
                                           DAVID Z. CHESNOFF, ESQ.
19                                         Pro Hac Vice
20                                         RICHARD A. SCHONFELD, ESQ.
21
                                           California Bar No. 202182
                                           520 South Fourth Street
22
                                           Las Vegas, Nevada 89101
23                                         Telephone: (702) 384-5563
24                                         rschonfeld@cslawoffice.net
                                           dzchesnoff@cslawoffice.net
25
                                           Attorneys for Defendant
26                                         ALEXANDER SMIRNOV
27

28
                                                2
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1                 MEMORANDUM OF POINTS AND AUTHORITIES
2
     I.    INTRODUCTION
3

4          This prosecution is not legally authorized because 1) Mr. Weiss (and, by
5
     implication, his team, consisting of Messrs. Wise, Hines, Mulryne and Rigali) was
6
     unlawfully appointed as Special Counsel, and 2) Congress has not appropriated
7

8    funds for either the investigation or prosecution of Mr. Smirnov.
9
           Mr. Smirnov respectfully asserts that the appointment of Mr. Weiss as
10
     Special Counsel in this case violates both the Appointments Clause and the
11

12   Appropriations Clause of the United States Constitution. First, as set forth in by the
13
     United States District Court for the Southern District of Florida in United States v.
14
     Donald J. Trump, et al., Case 9:23-cr-80101-AMC (July 15, 2024) (Cannon, J.)
15

16   (“Fla. Order”), the instant appointment violates the Appointments Clause and, as a
17
     remedy, compels dismissal of the Indictment. See infra at § II(A).
18
           Second, and alternatively, Mr. Smirnov asserts that the instant appointment
19

20   violates the Appropriations Clause of the Constitution. In two other cases that are
21
     comparable to Mr. Smirnov’s (that is, cases where Robert Hunter Biden was a
22

23
     named defendant (see Case Nos. 2:23-cr-00599-MCS-1 (C.D. Cal.) and 1:23-cr-

24   00061-MN (D. Del.)), Attorney General Garland explained: “Mr. Weiss will also
25
     continue to serve as U.S. Attorney for the District of Delaware,” and Mr. Weiss
26

27

28
                                               3
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1    has done so. 1 Those appointments—like the one in Mr. Smirnov’s case—is
2
     precluded by the Department of Justice’s own regulations setting the
3

4    “Qualifications of the Special Counsel,” which provide: “The Special Counsel
5    shall be selected from outside the United States Government.” 28 C.F.R. § 600.3
6
     (emphasis added).
7

8            In addition to not being qualified to serve as Special Counsel, the Special
9    Counsel’s funding for this investigation and prosecution was not approved by
10
     Congress, which violates the Appropriations Clause. See U.S. Const. art. I, § 9, cl.
11

12   7 (“No money shall be drawn from the Treasury, but in Consequences of
13   Appropriations made by Law.”).
14
             But this Special Counsel’s Office was not funded by monies approved by
15

16   Congress; rather, DOJ is funding the investigation from an unlimited account
17   established in 1987 to pay for independent counsels. See United States v. Biden,
18
     No. 1:23-cr-00061- MN (D. Del.) (ECF No. 72 at 2). Mr. Weiss, however, is not an
19

20   Independent Counsel, he is a Special Counsel, and that difference in authority
21
     makes a major difference in terms of his independence.
22
             Compounding the problem, the Attorney General appointed one of his own
23

24   subordinates to the Special Counsel position in violation of DOJ’s own regulations
25
     requiring that the Special Counsel be selected from outside the government. The
26

27   1
            See https://www.justice.gov/opa/speech/attorney-general-merrick-b-garland-delivers-
28   statement (Aug. 11, 2023).
                                                   4
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1    whole point of that regulation is to provide for the Special Counsel’s independence
2
     from the federal government. Special Counsel Weiss, however, is not an
3

4    independent counsel subject to any valid appropriation by Congress. Accordingly,
5    the Indictment should be dismissed as Special Counsel Weiss was not authorized
6
     to obtain the Indictment or prosecute this case. See, e.g., United States v. Pisarski,
7

8    965 F.3d 738, 743 (9th Cir. 2020) (affirming injunction against further prosecution
9    because the prosecution violated the Appropriations Clause); United States v.
10
     McIntosh, 833 F.3d 1163, 1175 (9th Cir. 2016) (“[I]f DOJ were . . . drawing funds
11

12   from the Treasury without authorization by statute[, it would thus be] violating the
13   Appropriations Clause.    That Clause constitutes a separation-of-powers limitation
14
     that Appellants can invoke to challenge their prosecutions.”).
15

16   II.   ARGUMENT
17
           A.     The Appointment of Special Counsel in this Case Violates the
18
                  Appointments Clause, as Explained in the Florida Order and Justice
19                Clarence Thomas’s Concurring Opinion in Trump v. United States.
20
           Mr. Smirnov asserts that—as recently opined by Justice Thomas in Trump v.
21
     United States, 144 S. Ct. 2312 (2024) and, as even more recently held by the
22

23   Honorable Aline M. Cannon, United States District Judge for the Southern District
24
     of Florida—the instant appointment violates Article II, Section 2, Clause 2 of the
25
     United States Constitution:
26

27         [The President] shall nominate, and by and with the Advice and
28
           Consent of the Senate, shall appoint Ambassadors, other public
                                                5
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1          Ministers and Consuls, Judges of the Supreme Court, and all other
2          Officers of the United States, whose Appointments are not herein
           otherwise provided for, and which shall be established by Law: but the
3          Congress may by Law vest the Appointment of such inferior Officers,
4          as they think proper, in the President alone, in the Courts of Law, or in
           the Heads of Departments.
5

6    Art. II, § 2, cl. 2 (quoted in Fla. Order at 3 and Trump v. United States, 144 S. Ct.
7    2312, 2348 (2024) (Thomas, J., concurring)).
8
           As described in Judge Cannon’s seminal ruling:
9

10         The Appointments Clause is a critical constitutional restriction
           stemming from the separation of powers, and it gives to Congress a
11         considered role in determining the propriety of vesting appointment
12         power for inferior officers. The Special Counsel’s position effectively
           usurps that important legislative authority, transferring it to a Head of
13         Department, and in the process threatening the structural liberty
14         inherent in the separation of powers. If the political branches wish to
           grant the Attorney General power to appoint Special Counsel Smith to
15         investigate and prosecute this action with the full powers of a United
16         States Attorney, there is a valid means by which to do so. He can be
           appointed and confirmed through the default method prescribed in the
17         Appointments Clause, as Congress has directed for United States
18         Attorneys throughout American history, see 28 U.S.C. § 541, or
           Congress can authorize his appointment through enactment of positive
19
           statutory law consistent with the Appointments Clause.
20
     Fla. Order at 3.
21

22         The Appointments Clause “prescribes the exclusive means of appointing
23
     ‘Officers of the United States.’” Fla. Order at 12 (quoting Lucia v. Sec. & Exch.
24
     Comm’n, 585 U.S. 237, 244 (2018)). An “Officer of the United States,” . . . is any
25

26   appointee [1] who exercises “significant authority pursuant to the laws of the
27
     United States,” Buckley v. Valeo, 424 U.S. 1, 126 (1976), and [2] who occupies a
28
                                                6
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1    “‘continuing’ position established by law,” Lucia, 585 U.S. at 245 (quoting United
2
     States v. Germaine, 99 U.S. 508, 511–12 (1878)); Edmond v. United States, 520
3

4    U.S. 651, 662 (1997) (“The exercise of ‘significant authority pursuant to the laws
5    of the United States marks not the line between principal and inferior officer for
6
     Appointments Clause purposes, but rather, as we said in Buckley, the line between
7

8    officer and nonofficer.” (quoting Buckley, 424 U.S. at 126)) (emphasis added)
9    (quoting by Fla. Order at 12-13).
10
           After explaining—with regard to the “established by law” admonishment set
11

12   forth in Lucia, 585 U.S. at 245—the Florida Order reviewed the lengthy historical
13   backdrop of the Appointments Clause:
14
           The Appointments Clause establishes “two classes” of Constitutional
15         officers: “principal” officers and “inferior” officers. Germaine, 99 U.S.
16         at 509–10. Principal officers must be appointed by the President, with
           the advice and consent of the Senate. Art. II, § 2, cl. 2; Edmond [v.
17         United States], 520 U.S. [651,] 659 [(1997)]; United States v. Arthrex,
18         Inc., 594 U.S. 1, 12 (2021). That mechanism—Presidential nomination
           and Senatorial confirmation—is the “default manner of appointment”
19
           for principal and inferior officers. Arthrex, Inc., 594 U.S. at 12. But the
20         Appointments Clause provides another means to facilitate inferior-
           officer appointments, and it does so through the so called “Excepting
21
           Clause.” Edmond, 520 U.S. at 660. That clause permits Congress—“by
22         law,” and as it “thinks proper”—to “vest” the appointment of such
           inferior officers in three places, and only three places: “in the president
23
           alone, in the Courts of Law, or in the Heads of Departments.” Art. II, §
24         2, cl. 2. But “any decision to dispense with Presidential appointment
           and Senate confirmation is Congress’s to make, not the President’s.”
25
           Weiss v. United States, 510 U.S. 163, 187 (1994) (Souter, J.,
26         concurring) (emphasis added) . . . .
27

28
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1               Importantly, the Framers considered, and initially maintained, a
2        proposal by which the President alone would have had the authority to
         “‘appoint officers in all cases not otherwise provided for by this
3        Constitution.’” Morrison [v. Olson], 487 U.S. [654,] 675 [(1988)
4        (quoting 1 Records of the Federal Convention of 1787, pp. 183, 185
         (M. Farrand ed. 1966)). That proposal, however, was replaced on
5        September 15, 1787, when Gouverneur Morris moved to add the
6        Excepting Clause to Article II, which was adopted shortly thereafter.
         That left Congress with an important—though circumscribed—role in
7        vesting appointment authority for inferior officers. Id. The Framers’
8        rejection of unilateral executive-appointment authority traces its roots
         to the American colonial experience with the English monarchy and to
9        the Framers’ desire to limit executive aggrandizement by requiring
10       shared legislative and executive participation in the area of
         appointments. See Edmond, 520 U.S. at 559–660; Freytag v. Comm’r,
11       501 U.S. 868, 884 (1991) (examining historical sources on the subject
12       of executive appointment-power abuses); Weiss, 510 U.S. at 184 (1994)
         (Souter, J., concurring) (discussing Framers’ awareness of the English
13       monarchy’s pre-revolutionary “manipulation of official appointments”
14       and corresponding recognition “that lodging the appointment power in
         the President alone would pose much the same risk as lodging it
15       exclusively in Congress: the risk of an incautious or corrupt
16       nomination.” (internal quotation marks and brackets omitted)); Trump
         v. United States, 144 S. Ct. 2312, 2349 (2024) (Thomas, J., concurring).
17

18               For these and other reasons, and as the Supreme Court has
         emphasized, the Appointments Clause is “more than a matter of
19
         ‘etiquette or protocol;’ it is among the significant structural safeguards
20       of the constitutional scheme.” Edmond, 520 U.S. at 659 (quoting
         Buckley, 424 U.S. at 124 (emphasis added)); see Buckley, 424 U.S. at
21
         132 (referring to the Appointments Clause as setting forth “well-
22       established constitutional restrictions stemming from the separation of
         powers”). Indeed, it is rooted in the separation of powers fundamental
23
         to our system of government and to the limitations built into that
24       structure—all of which aim to prevent one branch from aggrandizing
         itself at the expense of another. Freytag, 501 U.S. at 878 (“The roots of
25
         the separation-of-powers concept embedded in the Appointments
26       Clause are structural and political. Our separation-of-powers
         jurisprudence generally focuses on the danger of one branch’s
27
         aggrandizing its power at the expense of another branch.”). The
28
                                             8
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1          Appointments Clause also preserves “the Constitution’s structural
2          integrity by preventing the diffusion of the appointment power” and
           thus enhancing democratic accountability. Id. at 878; id. at 884–86
3          (explaining that the Appointments Clause protects democratic
4          accountability by limiting “the distribution of the appointment power”
           to “ensure that those who wielded it were accountable to political force
5          and the will of the people”); Ryder v. United States, 515 U.S. 177, 182
6          (1995).
7                 Turning to the Excepting Clause more specifically, the
8          Appointments Clause requires that any Congressional decision to vest
           inferior-officer appointment power must be made by “Law”—meaning
9          statutory law, as all parties rightly agree . . . . Art. II, § 2 cl. 2. This
10         “Law,” it bears noting, is a means by which Congress, in the words of
           the Clause, can express its determination of whether it is “proper” to
11         vest such appointment power in one of the three circumscribed
12         repositories. Id. (providing that “Congress may by Law vest the
           Appointment of such inferior Officers, as they think proper, in the
13         President alone, in the Courts of Law, or in the Heads of Departments”)
14         (emphasis added).
15   Fla. Order at 13-15; see also id. at 67-80 (discussing the principles governing
16
     “inferior officers” versus “principal officers”).
17

18         Applying these and other principles (including those under the
19
     Appropriations Clause) to the appointments issue raised in United States v. Trump,
20
     et al., the District Court concluded that the appointment of the Special Counsel in
21

22   that case—functionally indistinguishable from the appointment made in Mr.
23
     Smirnov’s case—was unconstitutional. See Fla. Order at 71-81 (explaining why
24
     there is an absence of “law” for the Special Counsel’s appointment); 83 (remedy is
25

26   dismissal, because the Special Counsel in that case—like Special Counsel David C.
27
     Weiss in Mr. Smirnov’s case—has been exercising “power that [he] did not
28
                                                9
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1    lawfully possess.” Collins [v. Yellen,] 594 U.S. 220, 258 [(2021)]; 83-84 (“All
2
     actions that flowed from his defective appointment—including his seeking of the
3

4    Superseding Indictment on which this proceeding currently hinges—were unlawful
5    exercises of executive power.”); 86-87 (under Appropriations Clause, “[n]o Money
6
     shall be drawn from the Treasury, but in Consequence of Appropriations made by
7

8    Law,” U.S. Const. Art. I, § 9, cl. 7); 87-89 (ruling that the “other law” cited to
9    justify the “indefinite appropriation” in United States v. Trump, et al. was deficient
10
     because: 1) there was no statutory authority for the appointment (as discussed in
11

12   Fla. Order at 22-52); and 2) the application regulations cannot “serve as other law
13   for purposes of Indefinite Appropriations”); 89-91 (suggesting that remedy for
14
     Appropriations Clause violation IS dismissal, but adding that “the disposition of
15

16   this Order on Appointments Clause grounds” alone resolves the issue).
17         B.     Alternatively, Pursuant to Applicable Regulations, Mr. Weiss Was
18                Unlawfully Appointed Special Counsel
19
                  (i)    Mr. Weiss Is Ineligible To Be Appointed Special Counsel
20
           DOJ’s regulations setting the qualifications for a Special Counsel are
21

22   explicit, and they have been violated here. The regulation is not ambiguous: “The
23
     Special Counsel shall be selected from outside the United States Government.” 28
24
     C.F.R. § 600.3 (emphasis added). That plainly has not been met. See supra n.1.
25

26         Attorney General Garland’s appointment of Special Counsel Weiss
27
     highlights the irregularity. The Attorney General’s appointment explicitly stated:
28
                                               10
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1    “Sections 600.4 to 600.10 of Title 28 of the Code of Federal Regulations are
2
     applicable to the Special Counsel.” DOJ Order 5730-2023 (Aug. 11, 2023). These
3

4    are the provisions of the Special Counsel regulations governing the scope of the
5    authority and responsibilities of a Special Counsel. Notably, Attorney General
6
     Garland recognizes the applicability of these parts of the regulations that apply to
7

8    the Special Counsel’s actions, but not the very preceding section of the same
9    regulations that restricts the Attorney General’s authority to select who may be a
10
     Special Counsel. In this regard, the Attorney General had no lawful basis to pick
11

12   and choose what parts of an integrated regulation to apply. The prosecution of Mr.
13   Smirnov thus assumes not only that the Executive Branch is endowed with a power
14
     that is non-existent, but also that the separation-of-powers mandate that undergirds
15

16   our Constitutional system can be ignored whenever the Executive wishes.
17         The regulatory requirement specifying that the Special Counsel be someone
18
     chosen from outside the United States government is another important provision,
19

20   one imposed after careful deliberation. After the Independent Counsel
21
     Reauthorization Act of 1994 expired in 1999, then-Attorney General Janet Reno
22
     replaced the procedures for appointing Independent Counsel with these new
23

24   regulations for selecting a Special Counsel.
25

26

27

28
                                               11
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1          In crafting the role of both the Independent Counsel and Special Counsel,
2
     the central struggle was to strike the right balance between independence and
3

4    accountability. Where there is a conflict of interest within DOJ or a concern with
5    political pressure within the government, independence is important, on the one
6
     hand. On the other hand, there was a concern that too much independence could
7

8    lead to a lack of supervision and accountability.
9          To begin with, this case presents a conflict-of-interest so evident that it
10
     cannot be reasonably denied. This case alone involves the Attorney General of the
11

12   United States (Mr. Garland, who was selected by the current President) selecting
13   another member of the Executive Branch (Mr. Weiss) to prosecute Mr. Smirnov
14
     for allegedly lying about the very man (that is, the President) who: 1) sits at the
15

16   head of the Executive Branch and 2) appointed Mr. Smirnov’s Executive Branch
17   prosecutors in the first place. Mr. Smirnov respectfully suggests that the facts
18
     underlying his prosecution are even more egregious than those underlying
19

20   President Trump’s Florida prosecution, in that now-dismissed case.
21
           Congress and DOJ abandoned the Independent Counsel regime precisely
22
     because it afforded Independent Counsel too much independence.
23

24

25

26

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                                               12
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1          Then-Deputy Attorney General Eric Holder testified before Congress that
2
     “nearly every living former attorney general” opposed reauthorizing the
3

4    Independent Counsel statute, and he explained:
5          [The Act] vests this immense prosecutorial power in an inferior officer
6          who is not subject to the ordinary controls of any branch of
           government; and this officer is someone who has not been confirmed
7          by the Senate and who, as former Attorney General Barr stated, is not
8          subject to the same sort of oversight or budgetary constraints that the
           publicly accountable Department of Justice faces day in and day out. .
9          . . Independent counsel are largely insulated from any meaningful
10         budget process, competing public duties, time limits, accountability to
           superiors and identification with the traditional long-term interests of
11         the Department of Justice. This insulation contributes greatly to the
12         independence of these prosecutors, but it also eliminates the incentive
           to show restraint in the exercise of prosecutorial power. [These factors]
13         provide an impetus to investigate the most trivial matter to an
14         unwarranted extreme . . . . An independent counsel who does not indict
           faces criticism for wasting both his time and the taxpayers’ good
15         money. As the old adage, adapted from Mark Twain, goes: “To a man
16         with a hammer, a lot of things look like nails that need pounding.” 2
17         DOJ explained its regulations for the newly created Special Counsel position
18
     would strip the former Independent Counsel role of its independence where it
19

20   mattered. Despite providing limited discretion, DOJ explained: “Nevertheless, it is
21
     intended that ultimate responsibility for the matter and how it is handled will
22
     continue to rest with the Attorney General . . . . ; thus, the regulations explicitly
23

24

25

26
     2
             The Independent Counsel Act, Hearing Before the Subcomm. on Commercial and
27
     Administrative Law, on the Judiciary, 106th Cong. (Mar. 2, 1999) (Holder remarks),
28   https://www.justice.gov/archive/dag/testimony/ictestimonydag.htm.
                                                   13
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1    acknowledge the possibility of review of specific decisions reached by the Special
2
     Counsel.” 64 FR 37038-01 (July 9, 1999).
3

4          In creating a less independent role for the Special Counsel, DOJ’s
5    regulations still preserved the Independent Counsel Act’s exclusion for those U.S.
6
     government employees. Compare 28 U.S.C. § 593(b)(2) (“[T]he court may not
7

8    appoint as an independent counsel any person who holds any office of profit or
9    trust under the United States.”), with 28 C.F.R. § 600.3 (“The Special Counsel
10
     shall be selected from outside the United States Government.”). It defies all
11

12   notions of independence from the government to appoint someone to either
13   position who is not independent of the government, but a part of it.
14
                  (ii)   DOJ Is Bound By Its Own Regulations
15

16         Although the Attorney General has broad statutory authority to appoint a
17   Special Counsel, the Attorney General is bound by DOJ’s own regulations as to
18
     who is qualified to be a Special Counsel. An “agency must follow its own
19

20   regulations; ‘it is a well-settled rule that an agency’s failure to follow its own
21
     regulations is fatal to the deviant act.’” Mine Reclamation Corp. v. FERC, 30 F.3d
22
     1519, 1524 (D.C. Cir. 1994) (citation omitted). Even where the Attorney General’s
23

24   statutory authority is “relatively unconstrained,” the government concedes when
25
     regulations have “constrained the Attorney General’s exercise of discretion” due to
26
     the “‘well-known maxim that agencies must comply with their own regulations.’”
27

28
                                                14
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1    Andriasian v. INS, 180 F.3d 1033, 1046 & n.22 (9th Cir. 1999) (quoting Ramon–
2
     Sepulveda v. INS, 743 F.2d 1307, 1310 (9th Cir. 1984)).
3

4           In United States v. Nixon, 418 U.S. 683 (1974), the Supreme Court found the
5    Attorney General bound by his own regulations concerning his appointment of the
6
     Special Prosecutor in the Watergate case. President Nixon claimed the power (as
7

8    head of the Executive Branch) to derail the investigation into him, or to order his
9    Attorney General to do so; but the Court disagreed and stated that the authority to
10
     represent the United States had been conferred upon the Attorney General, who
11

12   had delegated that authority to the Special Prosecutor, consistent with DOJ’s then-
13   current regulations. Thus, “it is theoretically possible for the Attorney General to
14
     amend or revoke the regulation defining the Special Prosecutor’s authority. But he
15

16   has not done so. So long as this regulation remains in force the Executive Branch is
17   bound by it, and indeed the United States as the sovereign composed of the three
18
     branches is bound to respect and to enforce it.” Id. at 696.3
19

20          This outcome was practically dictated by United States ex rel. Accardi v.
21
     Shaughnessy, 347 U.S. 260 (1954), a habeas case, where the petitioner challenged
22
     the Attorney General’s violation of his rights under DOJ regulations to seek a
23

24
     3
25           Mr. Smirnov notes that Judge Cannon’s ruling does not address the “regulations”
     proposition discussed in the text, cited by Nixon at page 696. Compare Fla. Order at 53-67
26   (instead discussing proposition cited by Nixon Court at pp. 694-95, noting that the Appointments
     Clause “has also vested in [the Attorney General] the power to appoint subordinate officers to
27
     assist him in the discharge of his duties. 28 U.S.C. §§ 509, 510, 515, 533.”).
28
                                                   15
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1    suspension of his deportation. There, the Attorney General had—by regulation—
2
     delegated his authority on such matters to the Board of Immigration Appeals to
3

4    decide, but the Attorney General subsequently expressed his view that petitioner’s
5    application be denied. The Accardi Court reversed the application’s denial because
6
     “as long as the regulations remain operative, the Attorney General denies himself
7

8    the right to sidestep the Board or dictate its decision in any manner.” Id. at 267; see
9    also Nixon, 418 U.S. at 696 (“The Court held [in Accardi] that so long as the
10
     Attorney General’s regulations remained operative, he denied himself the authority
11

12   to exercise the discretion delegated to the Board even though the original authority
13   was his and he could reassert it by amending the regulations.”).4
14
            The bottom line here is that DOJ’s regulations flatly precluded Attorney
15

16   General Garland from appointing Mr. Weiss as Special Counsel. If the Attorney
17   General no longer wishes to be bound by those regulations, he should look into
18
     having them changed. Until then, however, the regulations remain binding and
19

20   should be enforced. Because the Indictment in this case was filed by an
21
     unauthorized Special Counsel, it must be dismissed.
22

23

24

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     4
             In addition to Accardi, Nixon also cited Vitarelli v. Seaton, 359 U.S. 535 (1959) (holding
27
     that Secretary of the Interior cannot discharge employee without following own procedural
28   regulations), and Service v. Dulles, 354 U.S. 363 (1957) (same for Secretary of State).
                                                      16
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1          B.     DOJ Violates the Appropriations Clause by Funding This Special
2                 Counsel’s Investigation and Prosecutions

3          Like the funds spent on the Hunter Biden prosecutions, the funds spent on
4
     Special Counsel Weiss’s investigation and prosecution of Mr. Smirnov have not
5

6    been appropriated by Congress, as required by the Appropriations Clause. Instead,
7    DOJ is funding Special Counsel Weiss’s prosecution through an appropriation
8
     established in a Note to 28 U.S.C. § 591: “[A] permanent indefinite appropriation
9

10   is established within the Department of Justice to pay all necessary expenses of
11   investigations and prosecutions by independent counsel appointed pursuant to the
12
     provisions of 28 U.S.C. 591 et seq. or other law.” See Pub. L. 100–202, § 101(a)
13

14   [title II], Dec. 22, 1987 (emphasis added). Section 591 and other Independent
15   Counsel regulations expired in 1999. 28 U.S.C. § 599. Attorney General Garland’s
16
     appointment of Special Counsel Weiss relies on other law, 28 U.S.C. §§ 509, 510,
17

18   515 and 533, none of which authorize the appointment of an independent counsel
19
     for purposes of the Section 591 independent counsel fund. Attorney General
20
     Garland, Order 5730-2023 (Aug. 11, 2023).
21

22         By design, Special Counsel Weiss is not an “independent” counsel. And
23
     again, the word “independent” is used to create a structural prohibition by insisting
24
     that the person not be a member of the federal government. This appropriation for
25

26   “independent counsel” was created in 1987, when “independent” was understood
27
     to refer to the circumstances that then-existed concerning the role of an
28
                                              17
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1    Independent Counsel and the reference to “other law” would mean a role close to it
2
     in terms of independence. As noted, the Special Counsel regulations adopted in
3

4    1999 were designed to eliminate that sort of independence by creating the new role
5    of Special Counsel, which would not be independent. See, e.g., Daniel Huff,
6
     Robert Mueller Has A Money Problem, Wall St. J. (Mar. 24, 2019),
7

8    https://www.wsj.com/articles/robert-mueller-has-a-money-problem-11553468712
9    (limited independence of Special Counsel not subject to the appropriation for
10
     independent counsel).
11

12         Not only did the Attorney General disregard the regulation requiring
13   appointment of a Special Counsel from outside of the government; the Attorney
14
     General did not even select a Special Counsel from outside his own agency. Thus,
15

16   Special Counsel Weiss has less independence than even the Special Counsel
17   regulations were meant to confer. By choosing a subordinate from within DOJ,
18
     there is not even a veneer of independence. Mr. Weiss cannot be both
19

20   “independent” of DOJ and a part of DOJ.
21
           The Appropriations Clause is strictly enforced. See, e.g., U.S. Dept. of Navy
22
     v. Fed. Labor Relations Auth., 665 F.3d 1339, 1342 (D.C. Cir. 2012) (Kavanaugh,
23

24   J.,) (“Decisions of the Supreme Court and this Court have strictly enforced the
25
     constitutional requirement, implemented by federal statutes, that uses of
26
     appropriated funds be authorized by Congress.”). The Clause conveys a
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                                              18
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1    “straightforward and explicit command”: No money “can be paid out of the
2
     Treasury unless it has been appropriated by an act of Congress.” Office of
3

4    Personnel Mgmt. v. Richmond, 496 U.S. 414, 424 (1990) (citations omitted). An
5    appropriation must be expressly stated; it cannot be inferred or implied. Accord 31
6
     U.S.C. § 1301(d) (“A law may be construed to make an appropriation out of the
7

8    Treasury . . . only if the law specifically states that an appropriation is made.”).
9          And a prosecution brought in violation of the Appropriations Clause must be
10
     dismissed. See, e.g., Pisarski, 965 F.3d at 741; McIntosh, 833 F.3d at 1174; see
11

12   also Collins v. Yellin, 141 S. Ct. 1761, 1781 (2021) (“As we have explained on
13   many prior occasions, the separation of powers is designed to       preserve the
14
     liberty of all the people . . . . So whenever a separation-of-powers violation occurs,
15

16   any aggrieved party with standing may file a constitutional challenge”); Sheila Law
17   LLC v. Consumer Fin. Protec. Bureau, 140 S. Ct. 2183, 2196 (2020) (defendant
18
     could challenge enforcement action where agency lacked authority under the
19

20   Appointments Clause); Bond v. United States, 564 U.S. 211, 220 (2011) (defendant
21
     could challenge indictment on federalism grounds).
22
           As the victim of an unauthorized and improperly funded prosecution,
23

24   therefore, Mr. Smirnov has standing to challenge this ultra vires Indictment.
25

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                                                19
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1    III.   CONCLUSION
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            This present Indictment (ECF No. 1, Feb. 14, 2024) was brought by an
3

4    unauthorized Special Counsel with funds that were not appropriated by Congress.

5    The Court should thus dismiss the Indictment.
6
            DATED this 15th day of July, 2024.
7

8                                         Respectfully Submitted:
9
                                          CHESNOFF & SCHONFELD
10

11                                         /s/ David Z. Chesnoff
12                                        DAVID Z. CHESNOFF, ESQ.
                                          Pro Hac Vice
13
                                          RICHARD A. SCHONFELD, ESQ.
14                                        California Bar No. 202182
15                                        520 South Fourth Street
                                          Las Vegas, Nevada 89101
16
                                          Telephone: (702) 384-5563
17                                        rschonfeld@cslawoffice.net
18                                        dzchesnoff@cslawoffice.net
19                                        Attorneys for Defendant
                                          ALEXANDER SMIRNOV
20

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1                            CERTIFICATE OF SERVICE
2
           I hereby certify that on this 15th day of July, 2024, I caused the forgoing
3

4    document to be filed electronically with the Clerk of the Court through the CM/ECF
5
     system for filing; and served on counsel of record via the Court's CM/ECF system.
6

7
                                    /s/ Camie Linnell____
8
                                    Employee of Chesnoff & Schonfeld
9

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